
McINNIS, Judge.
Mrs. Lilah Mearl Little appearing as the administratrix of the estate of her husband, Thomas Ravel Little, demands of defendant, .Houston Fire &amp; Casualty Company, the sum of $40,000 for the death of her said husband. ’
Deceased met his death in the same accident in which Jesse Willard (Pete) Johnson was killed, and this case was consolidated with the case of Johnson v. Houston Fire &amp; Casualty Company, No. 7940, 66 So.2d 528.
The issues in this case are identical with those in No. 7940, except that Jesse Willard Johnson was the driver of the ill-fated truck, and here it is alleged that Thomas Ravel Little was riding in the cab of the truck as a guest.
After trial in the district court judgment was rendered and signed rejecting demand, and she prosecutes a devolutive appeal to this court.
All of the issues are fully discussed in case No. 7940, where it is held that plaintiff failed to make out the’ charges of negligence alleged against Claude Goocher, defendant’s insured. In such case a person *533riding in the truck, even though a guest, has no greater rights than' the driver.
For this reason, and the reasons set forth in- case No. 7940, the judgment of the district court rejecting plaintiff’s demand is affirmed at the cost of plaintiff-appellant in both courts.
